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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                               Crim. File No. 06-184(4) (PJS/SRN)

                               Respondent,

v.                                                                                   ORDER

Eva Aidee Rodriguez,

                               Petitioner.


       This matter is before the Court on Petitioner Eva Aidee Rodriguez’s Notice of Appeal,

which the Clerk’s Office construed as an Application for a Certificate of Appealability.

Petitioner seeks appellate review of this Court’s decision of December 11, 2007, dismissing

the Petition she brought pursuant to 28 U.S.C. § 2255.

       Petitioner is required to secure a Certificate of Appealability prior to appealing the

dismissal of her § 2255 Petition. 28 U.S.C. § 2253(c)(1)(B); Fed. R. App. P. 22(b)(1). This

Court cannot grant a Certificate of Appealability unless the Petitioner “has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); see also Tiedeman

v. Benson, 122 F.3d 518, 522 (8th Cir. 1997). “Good faith and lack of frivolousness, without

more, do not serve as sufficient bases for issuance of a certificate.” Kramer v. Kemna, 21

F.3d 305, 307 (8th Cir. 1994). Instead, the Petitioner must satisfy a higher standard; she must

show that the issues to be raised on appeal are “debatable among reasonable jurists,” that

different courts “could resolve the issues differently,” or that the issues otherwise “deserve

further proceedings.” Flieger v. Delo, 16 F.3d 878, 882-83 (8th Cir. 1994) (citing Lozado
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v. Deeds, 498 U.S. 430, 432 (1991) (per curiam)); Cox v. Norris, 133 F.3d 565, 569 (8th Cir.

1997).

         In this matter, Petitioner did not set forth the grounds for her appeal in requesting

leave to appeal. Instead, Petitioner merely filed a notice of her intent to take an appeal.

Because the issues presented by the Petition were not frivolous, however, Petitioner deserves

an opportunity to raise those issues in a properly presented Application for Certificate of

Appealability.

         Accordingly, IT IS HEREBY ORDERED that:

         1.     Petitioner’s Application for Certificate of Appealability (Docket No. 251) is

                DENIED WITHOUT PREJUDICE; and

         2.     Petitioner may file a new Application on or before February 4, 2008.


Dated: January 3, 2008

                                                   s/ Paul A. Magnuson
                                                   Paul A. Magnuson
                                                   United States District Court Judge




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